Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 1 of 50 PageID 1219




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

 STATE OF FLORIDA, et al.,

       Plaintiffs,

 v.                                               Case No. 8:24-cv-1080-WFJ-TGW

 DEPARTMENT OF HEALTH
 AND HUMAN SERVICES, et al.,

      Defendants.
 _________________________________/

                                      ORDER

       Before the Court is Plaintiffs State of Florida, Florida Agency for Health Care

 Administration (“AHCA”), Florida Department of Management Services (“MS”)

 (collectively, “Florida”), and Catholic Medical Association’s (“CMA”) Motion for

 Stay or Preliminary Injunction (Dkt. 12) of Final Rule. Defendants Department of

 Health and Human Services, Secretary of the Department of Health and Human

 Services (collectively “HHS”), Centers for Medicare and Medicaid Services,

 Administrator of the Centers for Medicare and Medicaid Services (collectively,

 “CMS”), and Director of the Office for Civil Rights have responded (Dkt. 33).

 Plaintiffs have replied (Dkt. 35). On June 21, 2024, the Court held a hearing on this

 matter. Upon careful consideration, and with the benefit of able argument by both

 sides, the Court grants Plaintiffs’ Motion within the State of Florida. The subject
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 2 of 50 PageID 1220




 rules are stayed in Florida. Defendants are preliminarily enjoined within the State of

 Florida as follows.

                                  BACKGROUND

       The instant case is about Defendants’ changed interpretation of the Affordable

 Care Act’s (“ACA”) prohibition on sex discrimination, and Defendants’ attempt to

 enforce their new rules through the Final Rulemaking to be codified at 45 C.F.R. §§

 92.101, 92.206, 92.207 and 42 C.F.R. § 438.3(d)(4). See 89 Fed. Reg. 37,522 (May

 6, 2024). Specifically, Defendants interpret the ACA’s proscription against

 discrimination on the basis of sex to include discrimination on the basis of gender

 identity. Id. at 37,699 (emphasis added). They now maintain, among other things,

 that ACA covered providers may not “[d]eny or limit health services sought for

 purpose of gender transition or other gender-affirming care that the covered entity

 would provide to an individual for other purposes if the denial or limitation is based

 on an individual’s sex assigned at birth, gender identity, or gender otherwise

 recorded.” Id. at 37701. Plaintiffs disagree with Defendants’ interpretation of the

 ACA. They ask the Court to enjoin Defendants from enforcing it against them.

       The Final Rules considered here are broad and significant in application. As

 HHS has noted, "almost all practicing physicians in the United States are reached by

 Section 1557 [the provision at issue] because they accept some form of Federal




                                           2
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 3 of 50 PageID 1221




 remuneration apart from Medicare Part B.” Nondiscrimination in Health Programs

 and Activities, 81 Fed. Reg. 31,375, 31,446 (May 18, 2016).

     I.     The ACA and Title IX

          In 2010, Congress passed the ACA seeking to improve healthcare coverage

 for Americans. Pub. L. No. 111-148, 124 Stat. 119. Section 1557 of the ACA furthers

 this goal by mandating that no individual shall, “on the ground prohibited under . . .

 Title IX of the Education Amendments of 1972 (20 U.S.C. 1681 et seq.) . . . be

 excluded from participation in, be denied the benefits of, or be subjected to

 discrimination under any health program or activity, any part of which is receiving

 Federal financial assistance[.]” 42 U.S.C. § 18116(a). Title IX then itself provides

 that “[n]o person in the United States shall, on the basis of sex, be excluded from

 participation in, be denied the benefits of, or be subjected to discrimination under

 any education program or activity receiving Federal financial assistance[.]” 20

 U.S.C. § 1681(a) (emphasis added).1




 1
   Title IX contains a number of sex-specific exceptions to this general language. 20 U.S.C. § 1686,
 for instance, provides that nothing contained within Title IX “shall be construed to prohibit any
 educational institution receiving funds under this Act, from maintaining separate living facilities
 for the different sexes.” Further, § 1681(a) “shall not apply to an educational institution which is
 controlled by a religious organization if the application of this subsection would not be consistent
 with the religious tenets of such organization.” Id. at § 1681(a)(3). The ACA itself also states that,
 “[n]otwithstanding any other provision of [the ACA,] HHS “shall not promulgate any regulation
 that . . . violates the principles of informed consent and the ethical standards of health care
 professionals[.]” 42 U.S.C. § 18114(5).

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Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 4 of 50 PageID 1222




          In addition to borrowing Title IX’s “on the basis of sex” language, section

 1557 also incorporates Title IX and Title VI’s “enforcement mechanisms[.]” 42

 U.S.C. § 18116(a). This essentially means that HHS’s Office for Civil Rights

 (“OCR”) may initiate investigations to determine whether “covered entities” have

 failed to comply with section 1557’s anti-discrimination provision. See 20 U.S.C. §

 1682; 45 C.F.R. §§ 80.7, 92.303(a). Where compliance cannot be secured voluntarily

 after an adverse finding, HHS must follow an administrative process before

 withholding federal funding. 20 U.S.C. § 1682. “[A]ny person aggrieved” by such

 action may also obtain judicial review. Id. at § 1683.

    II.      HHS’s Implementation of Section 1557

          On May 6, 2024, HHS issued a “final rule and interpretation” regarding

 section 1557 (the “Rule,” “Rules,” or “Final Rules”). See generally 89 Fed. Reg.

 37,522. As relevant here, the Rules provide that discrimination “on the basis of sex

 includes, but is not limited to, discrimination on the basis of . . . [g]ender identity[.]”

 45 C.F.R. § 92.101(a)(2)(iv) (effective July 5, 2024). The Rules expand on this

 interpretation through 45 C.F.R. §§ 92.206, 92.207 and 42 C.F.R. § 438.3(d)(4).

          At section 92.206 the Rule addresses covered entities’ obligation to provide

 “equal access to its health programs and activities without discriminating on the

 basis of sex.” 45 C.F.R. § 92.206(a) (effective July 5, 2024). According to HHS, this

 obligation specifically prohibits four things:

                                             4
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 5 of 50 PageID 1223




       (1) denying or limiting “health services, including those that have been
       typically or exclusively provided to, or associated with, individuals of
       one sex, to an individual based upon the individual's sex assigned at
       birth, gender identity, or gender otherwise recorded;”

       (2) denying or limiting, “on the basis of an individual's sex assigned at
       birth, gender identity, or gender otherwise recorded, a health care
       professional's ability to provide health services if such denial or
       limitation has the effect of excluding individuals from participation in,
       denying them the benefits of, or otherwise subjecting them to
       discrimination on the basis of sex under a covered health program or
       activity;”

       (3) adopting or applying “any policy or practice of treating individuals
       differently or separating them on the basis of sex in a manner that
       subjects any individual to more than de minimis harm, including by
       adopting a policy or engaging in a practice that prevents an individual
       from participating in a health program or activity consistent with the
       individual's gender identity;” and

       (4) denying or limiting “health services sought for purpose of gender
       transition or other gender-affirming care that the covered entity would
       provide to an individual for other purposes if the denial or limitation is
       based on an individual's sex assigned at birth, gender identity, or gender
       otherwise recorded.”

  Id. at § 92.206(b)(1)–(4). The Rule adds, “[n]othing in this section requires the

 provision of any health service where the covered entity has a legitimate,

 nondiscriminatory reason for denying or limiting that service, including where . . .

 the covered entity reasonably determines that such health service is not clinically

 appropriate for a particular individual.” Id. at § 92.206(c). What ostensibly matters

 is that a “covered entity’s determination must not be based on unlawful animus or

 bias, or constitute a pretext for discrimination.” Id.

                                            5
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 6 of 50 PageID 1224




        At section 92.207 the Rule focuses on “health insurance coverage and other

 health-related coverage.” 45 C.F.R. § 92.207(a) (effective July 5, 2024). It provides

 that covered insurers must not “[h]ave or implement a categorical coverage

 exclusion or limitation for all health services related to gender transition or other

 gender-affirming care” or “[o]therwise deny or limit coverage, deny or limit

 coverage of a claim, or impose additional cost sharing or other limitations or

 restrictions on coverage, for specific health services related to gender transition or

 other gender affirming care[.]” Id. at § 92.207(b)(4)–(5). Section 92.207(c) states

 that “reasonable medical management techniques such as medical necessity

 requirements” may provide a “legitimate, nondiscriminatory reason for denying or

 limiting coverage of” certain health services. Id. at § 92.207(c).

        The final change concerns 42 C.F.R. § 438.3(d)(4).2 Unlike the previously

 mentioned revisions, this one addresses “standard contract requirements” for entities

 that deliver services under Medicaid and CHIP.3 42 C.F.R. § 438.3(d)(4) (effective

 July 9, 2024). These contracts must now affirmatively state that the contracting


 2
   Although Plaintiffs’ complaint addresses a number of “CMS Rules,” Dkt. 1 at 46–49, Plaintiffs’
 Motion for Stay or Preliminary Injunction only focuses on 42 C.F.R. § 438.3(d)(4). The Court will
 therefore largely limit its contracts analysis to 42 C.F.R. § 438.3(d)(4).
 3
   Medicaid and CHIP are joint federal-state programs that enable states to extend medical coverage
 to low-income individuals under Title XIX (Medicaid) and Title XXI (CHIP) of the Social Security
 Act. 42 U.S.C § 1396, et. seq.; id. § 1397aa, et. seq. To participate in either, each state must create
 a specific plan that fulfills the conditions specified in 42 U.S.C. § 1396a(a) or 42 U.S.C. §§
 1397aa–1397bb and submit the plan for approval. Id. § 1396a(b); id. §1397ff(a)–(c); 42 C.F.R. §
 457.150(a)–(c). Upon approval, states administer and fund their plans, and the federal government
 provides funding to help defray costs.
                                                   6
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 7 of 50 PageID 1225




 entity will “not discriminate against individuals eligible to enroll on the basis of race;

 color; national origin; disability; or sex which includes sex characteristics, including

 intersex traits; pregnancy or related conditions; sexual orientation; gender identity;

 and sex stereotypes; and will not use any policy or practice that has the effect of

 discriminating” on the same grounds. Id. In addition, participating states must ensure

 that these same entities “promote the delivery of services in a culturally competent

 manner to all enrollees . . . regardless of sex which includes sex characteristics,

 including intersex traits; pregnancy or related conditions; sexual orientation; gender

 identity and sex stereotypes[.]” 42 C.F.R. § 438.206(c)(2) (effective July 9, 2024).

     III.   Florida

        Florida believes that gender-change interventions are “experimental” and risk

 irreversible damage. Dkt. 1 at 33. It has therefore “concluded that the alleged

 psychological benefits of gender-change interventions are far too speculative to

 justify the risks, particularly in minors.” Id.4




 4
    In 2022, the Florida Department of Health (“DOH”) released guidance to this effect. See
 Treatment of Gender Dysphoria for Children and Adolescents (Apr. 20, 2022),
 https://perma.cc/BB4N-2QH4. The DOH explained that “[s]ystematic reviews on hormonal
 treatment for young people show a trend of low-quality evidence, small sample sizes, and medium
 to high risk of bias. A paper published in the International Review of Psychiatry states that 80%
 of those seeking clinical care will lose their desire to identify with the non-birth sex.” Id. The DOH
 also noted its belief that “encouraging mastectomy, ovariectomy, uterine extirpation, penile
 disablement, tracheal shave, the prescription of hormones which are out of line with the genetic
 make-up of the child, or puberty blockers, are all clinical practices which run an unacceptably high
 risk of doing harm.” Id.
                                                   7
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 8 of 50 PageID 1226




       In line with this view, Florida has issued “standards of practice and standards

 of care” for licensed physicians. Fla. Admin. Code r. 64B8-9.019. The Florida Board

 of Medicine prohibits “[s]ex reassignment surgeries, or any other surgical

 procedures that alter primary or secondary sexual characteristics” as well as

 “[p]uberty blocking, hormone, and hormone antagonist therapies” in the treatment

 of minors with gender dysphoria. Id. The Florida Board of Osteopathic Medicine

 similarly prohibits such treatments. Fla. Admin. Code r. 64B15-14.014.

       Florida has also passed a number of other laws and regulations that are

 relevant here. Rule 59G-1.050(7) provides that Florida Medicaid does not cover

 “puberty blockers, hormones and hormone antagonists, sex reassignment surgeries,

 or any other procedures that alter primary or secondary sexual characteristics” for

 the treatment of gender dysphoria. Fla. Admin. Code r. 59G-1.050(7). SB 254

 prohibits “[s]ex-reassignment prescriptions or procedures” for “patients younger

 than 18 years of age,” and the expenditure of state funds for the same. Fla. Stat. §§

 286.311, 456.001, 456.52. And HB 1521 mandates that covered entities must

 generally provide both females and males “restrooms and changing facilities for

 their exclusive use, respective to their sex[.]” Fla. Stat. § 553.865(2), (5), (12).

       Given the foregoing, Florida asserts that compliance with the Rules will

 require it to violate its own laws and regulations. Florida further asserts that non-

 compliance will result in a significant loss of funds as well as private lawsuits.

                                             8
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 9 of 50 PageID 1227




     IV.    Catholic Medical Association

        Like Florida, “CMA and its members hold the position that gender-transition

 procedures are unethical and dangerous.” Dkt. 1 at 9.5 CMA’s members also have

 “overlapping religious objections.” Id. They believe that the Rules interfere with

 their right “to the conscientious and faithful practice of medicine.” Id.

        CMA focuses on aspects of the Rules that have not been previously mentioned

 but which ultimately depend on Defendants’ interpretation of discrimination “on the

 basis of sex.” Among other things, the Rules will require CMA members who

 qualify as “covered entities” to: (1) “submit an assurance . . . that the entity’s health

 programs and activities will be operated in compliance with section 1557” as

 amplified by the Final Rules; (2) “implement a written policy” that “states the

 covered entity does not discriminate on the basis of” healthcare for gender-identity;

 (3) “train relevant employees of its health programs and activities on the civil rights

 policies” embodied in the Rules; and (4) “provide a notice of nondiscrimination” on

 the basis of gender-identity “to participants, beneficiaries, enrollees, and applicants

 of its health programs and activities, and members of the public.” 89 Fed. Reg.

 37,696–98. Non-compliance may result in remedial action. Id.




 5
  According to the Complaint, CMA is the largest association of Catholic individuals in healthcare
 with “2,500 members nationwide in all fields of practice.” Dkt. 1 at 8. Additionally, “[m]ost CMA
 members provide medical care in health programs and activities that receive federal financial
 assistance and are subject to Section 1557.” Id. at 9.
                                                9
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 10 of 50 PageID 1228




          CMA claims that these specific requirements, and the Rules as a whole,

  impose a “no-win” scenario for its members to: (1) “abandon or violate their

  convictions on gender and incur the costs of compliance”; or (2) “maintain their

  positions and practices but arguably falsify their policies, notices, and assurances of

  compliance to HHS and then risk continuing liability”; or (3) “exit the medical field

  and abandon their patients.” Dkt. 1 at 60. Ultimately, CMA maintains that its

  members’ “categorical exclusion of providing, facilitating, or affirming gender

  transitions, and their commitment to state law, precludes CMA members from”

  complying with the Rules. Id. at 58.

          CMA’s approximately 2,500 members are nationwide. For reasons stated

  below, the undersigned believes a nationwide injunction issuing here is improvident.

  Thus, CMA’s motion for a preliminary injunction will be denied, although its Florida

  members will be under this Court’s order. CMA’s other requested remedies must

  await a decision on the merits.

     V.     Procedural History

          On May 6, 2024, Plaintiffs filed the instant lawsuit against Defendants.

  Plaintiffs generally assert that the Rules violate the Administrative Procedure Act

  (“APA”), the Spending Clause, the First Amendment’s guarantee of free speech and

  association, and the First Amendment and Religious Freedom Restoration Act’s

  (“RFRA”) guarantees of religious freedom. Id. at 64–81.

                                            10
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 11 of 50 PageID 1229




        Plaintiffs now move for a stay or preliminary injunction concerning 45 C.F.R.

  §§ 92.101, 92.206, 92.207 and 42 C.F.R. § 438.3(d)(4). See generally Dkt. 12.

  Defendants oppose such relief on the merits. See generally Dkt. 33. They also

  suggest that Plaintiffs lack standing and that Plaintiffs’ claims are not ripe for review.

  Id. at 26–33.

                                 LEGAL STANDARDS

        To obtain a preliminary injunction concerning the Rules, Plaintiffs must show

  that: (1) they have “a substantial likelihood of success on the merits; (2) irreparable

  injury will be suffered unless the injunction issues; (3) the threatened injury to the

  movant outweighs whatever damage the proposed injunction may cause the

  opposing party; and (4) if issued, the injunction would not be adverse to the public

  interest.” Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (en banc). “The

  first two factors are ‘the most critical.’” Swain v. Junior, 958 F.3d 1081, 1088 (11th

  Cir. 2020) (quoting Nken v. Holder, 556 U.S. 418, 434 (2009)). Further, “the third

  and fourth factors [tend to] merge when, as here, the government is the opposing

  party.” Gonzalez v. Governor of Georgia, 978 F.3d 1266, 1271 (11th Cir. 2020)

  (cleaned up) (citations omitted).

        5 U.S.C. § 705 provides that, “[o]n conditions as may be required and to the

  extent necessary to prevent irreparable injury,” a court may “issue all necessary and

  appropriate process to postpone the effective date of an agency action or to preserve

                                             11
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 12 of 50 PageID 1230




  status or rights pending conclusion of” a review. The showing required for stay under

  section 705 of the APA is not materially different than that required for a preliminary

  injunction. Cook Cnty., Illinois v. Wolf, 962 F.3d 208, 221 (7th Cir. 2020); see also

  Purpose Built Fams. Found., Inc. v. United States, No. 22-60938-CIV, 2022 WL

  6226946, at *2–4 (S.D. Fla. July 29, 2022).

                                     DISCUSSION

        I.     Justiciability

        Defendants suggest that Plaintiffs lack standing, that Plaintiffs’ claims are not

  ripe, and that implied preclusion issues exist. The Court will address each of these

  contentions before turning to consider the merits.

               a. Standing

         “Courts have jurisdiction to hear a case only when the plaintiff has standing

  to sue.” Baughcum v. Jackson, 92 F.4th 1024 (11th Cir. 2024). Standing has three

  requirements: (1) “the plaintiff must have suffered an injury in fact—an invasion of

  a legally protected interest which is (a) concrete and particularized, and (b) actual or

  imminent, not conjectural or hypothetical”; (2) “there must be a causal connection

  between the injury and the conduct complained of—the injury has to be fairly

  traceable to the challenged action of the defendant and not the result of the

  independent action of some third party not before the court”; and (3) “it must be

  likely, as opposed to merely speculative, that the injury will be redressed by a

                                            12
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 13 of 50 PageID 1231




  favorable decision.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)

  (cleaned up) (internal quotations and citations omitted). “The party invoking federal

  jurisdiction bears the burden of establishing these elements.” Id. at 561. CMA’s

  standing is not relevant here.

        Florida has shown that it faces an imminent injury in fact. “Government

  regulations that require or forbid some action by the plaintiff almost invariably

  satisfy both the injury in fact and causation requirements.” Food & Drug Admin. v.

  All. for Hippocratic Med., No. 23-235, 2024 WL 2964140, at *7 (U.S. June 13,

  2024). Here, among other things, the Rules force Florida to begin expending state

  funds on gender-transition healthcare in contravention of its own laws. Compare 45

  C.F.R. § 92.207(a) (barring “categorical coverage exclusion or limitation for all

  health services related to gender transition or other gender-affirming care”) with Fla.

  Stat. §§ 286.311, 456.001, 456.52 (prohibiting “[s]ex-reassignment prescriptions or

  procedures” for “patients younger than 18 years of age,” and the expenditure of state

  funds for the same). This alone represents an imminent injury to Florida’s sovereign

  “interest in enforcing [its] duly enacted laws without contradiction from the federal

  government.” State of Tennessee v. Dep't of Educ., No. 22-5807, 2024 WL 2984295,

  at *10 (6th Cir. June 14, 2024). And Florida “need not expose [itself] to liability to

  have standing to challenge the enforcement of [the Rules].” W. Virginia by &




                                            13
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 14 of 50 PageID 1232




  through Morrisey v. U.S. Dep't of the Treasury, 59 F.4th 1124, 1137 (11th Cir. 2023)

  (internal quotations and citation omitted).

         Having addressed injury in fact, the other questions of standing are causation

  and redressability. Defendants do not address these factors. See generally Dkt. 33.

  Still, it is worth noting that they are satisfied. Plaintiffs’ alleged injuries are directly

  caused by Defendants’ promulgation of the Rules and imminent (July 5, 2024)

  enforcement of the same. A preliminary injunction will delay this enforcement. The

  Florida Plaintiffs have standing.

                b. Ripeness

         The ripeness doctrine asks “whether there is sufficient injury to meet Article

  III’s requirement of a case or controversy and, if so, whether the claim is sufficiently

  mature and the issues sufficiently defined and concrete, to permit effective decision-

  making by the court.” Elend v. Basham, 471 F.3d 1199, 1211 (11th Cir. 2006)

  (internal quotations and citations omitted). “In cases involving pre-enforcement

  review, like this one, the standing and ripeness analysis tend to converge.”

  Baughcum, 92 F.4th at 1036.

         Florida has alleged sufficient injury to satisfy the constitutional component of

  ripeness for the same reason that it satisfied the injury in fact component of standing.

  “If, in a suit challenging the legality of government action, the plaintiff is himself an

  object of the action . . . there is ordinarily little question that the action or inaction

                                              14
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 15 of 50 PageID 1233




  has caused him injury.” Texas v. EEOC, 933 F.3d 433, 46 (5th Cir. 2019) (internal

  quotations and citations omitted). The “common-sense inquiry” called for to

  determine whether Florida and CMA are objects of the Rules “is easy here.” Id. The

  Rules explicitly apply to “covered entities,” such as the Florida Plaintiffs, and

  mandate assurances, notices, training, and healthcare work that they do not currently

  provide. See 89 Fed. Reg. 37,522–24, 37,696–98. Florida, moreover, is “trapped in

  a bind” between the Rules and Florida law, which categorically precludes gender

  transition procedures for minors with gender dysphoria. Florida v. Nelson, 576 F.

  Supp. 3d 1017, 1030 (M.D. Fla. 2021); see also Texas v. United States, 787 F.3d

  733, 749 (5th Cir. 2015) (explaining that “being pressured to change state law

  constitutes an injury”). There is simply no question that Plaintiffs face imminent

  injury where Defendants have expressed no intention to forego enforcement of the

  Rules.

           This brings the Court to the prudential component of ripeness, which focuses

  on “both the fitness of the issues for judicial decision and the hardship to the parties

  of withholding judicial review.” Harrell v. The Fla. Bar, 608 F.3d 1241, 1258 (11th

  Cir. 2010) (emphasis in original). In analyzing the fitness prong, courts are generally

  “concerned with questions of ‘finality, definiteness, and the extent to which

  resolution of the challenge depends upon facts that may not yet be sufficiently

  developed.’” Id. (quoting Ernst & Young v. Depositors Econ. Prot. Corp., 45 F.3d

                                            15
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 16 of 50 PageID 1234




  530, 535 (1st Cir.1995)). “If a claim is fit for judicial decision, that is the end of the

  inquiry, and the matter is ripe, given that the absence of a hardship cannot tip the

  balance against judicial review under those circumstances.” Club Madonna, Inc. v.

  City of Miami Beach, 924 F.3d 1370, 1380 (11th Cir. 2019) (cleaned up) (internal

  quotations and citation omitted).

        Florida’s claims are fit for judicial decision. “A facial challenge presenting a

  purely legal argument … ‘is presumptively ripe for judicial review’ because that

  type of argument does not rely on a developed factual record.” Id. (quoting Harris

  v. Mexican Specialty Foods, Inc., 564 F.3d 1301, 1308 (11th Cir. 2009)); see Susan

  B. Anthony List v. Driehaus, 573 U.S. 149, 167 (2014). Here, Plaintiffs’ central

  challenge is purely legal in nature. They argue that the Rules are facially invalid

  because Defendants have erroneously interpreted the Title IX and ACA proscription

  against discrimination on the basis of sex to include discrimination on the basis of

  gender identity. There is no need for trial-like factual development at this stage. “The

  lines are drawn, the positions taken, and the matter is ripe for judicial review.”

  Florida v. Weinberger, 492 F.2d 488, 493 (5th Cir. 1974).

        The Court also notes that Plaintiffs would suffer hardship without judicial

  review. See Club Madonna, 924 F.3d at 1380. “Potential litigants suffer substantial

  hardship if they are forced to choose between foregoing lawful activity and risking

  substantial legal sanctions.” Cheffer v. Reno, 55 F.3d 1517, 1524 (11th Cir. 1995).

                                             16
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 17 of 50 PageID 1235




  In the instant case, the Rules force Plaintiffs to choose between foregoing ostensibly

  legal healthcare policies and practices or risking private lawsuits and the withholding

  of federal funds that are likely unrecoverable. This is sufficient hardship. See Texas

  v. Brooks-LaSure, 680 F. Supp. 3d 791, 804 (E.D. Tex. 2023) (finding that Texas

  faced sufficient hardship where it had to “comply” with a CMS bulletin or “face fund

  disallowance”); U.S. Army Corps of Engineers v. Hawkes Co., 578 U.S. 590, 600

  (2016) (Plaintiffs “need not assume such risks while waiting for [Defendants] to

  ‘drop the hammer’ in order to have their day in court”). Plaintiffs’ claims are ripe.

               c. Implied Preclusion

        The final justiciability issue to consider is implied preclusion. District courts

  generally “have original jurisdiction of all civil actions arising under the

  Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. Here the

  Administrative Procedure Act, 5 U.S.C. 706, assigns all legal interpretations to the

  courts. The prime issue here is whether the Final Rules are legally compliant with

  and covered by Title IX in the Eleventh Circuit. The APA mandates this task is not

  impliedly precluded.

        In some circumstances “[a] special statutory review scheme . . . may preclude

  district courts from exercising jurisdiction over challenges to federal agency action.”

  Axon Enter., Inc. v. FTC, 598 U.S. 175, 185 (2023). Defendants suggest that section

  1557 and 42 U.S.C. § 1316 represent such schemes.

                                            17
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 18 of 50 PageID 1236




        Defendants are mistaken with respect to section 1557. The threshold implied

  preclusion issue is whether Congress has created a “comprehensive review process

  . . . that oust[s] district court jurisdiction[.]” Axon Enter., 598 U.S. at 186 (citing

  Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 208 (1994). Congress did no such

  thing through section 1557. As previously mentioned, section 1557 incorporates

  Title IX and Title VI’s “enforcement mechanisms[.]” 42 U.S.C. § 18116(a). Neither

  contain a special statutory review scheme that vests review in the courts of appeal

  or provides a comprehensive review process. They instead provide that “[a]ny

  department or agency action . . . shall be subject to such judicial review as may

  otherwise be provided by law for similar action taken by such department or agency

  on other grounds.” 20 U.S.C. § 1683; 42 U.S.C. § 2000d-2. There is consequently

  no implied preclusion of Plaintiffs claims concerning 45 C.F.R. §§ 92.101, 92.206,

  and 92.207. See Louisiana v. U.S. Env't Prot. Agency, No. 2:23-CV-00692, 2024

  WL 250798, at *19 (W.D. La. Jan. 23, 2024) (finding that “42 U.S.C. § 2000d-2 is

  not a special statutory scheme”); Tennessee, 2024 WL 2984295, at *18 (6th Cir. June

  14, 2024) (finding that Title IX does not “implicitly preclude[] the States from

  brining an APA pre-enforcement challenge”).

        Title 42 U.S.C. § 1316’s interaction with the contracts provision of 42 C.F.R.

  § 438.3(d)(4) creates a closer question, but not by much. Unlike section 1557,

  section 1316 creates a valid and comprehensive review process. See 42 U.S.C. §

                                            18
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 19 of 50 PageID 1237




  1316(a)–(e). But here, Plaintiffs’ claims are not “of the type Congress intended to

  be reviewed within this statutory structure.” Thunder Basin Coal Co., 510 U.S. at

  212. Section 1316 addresses determinations concerning whether state plans

  “submitted to the Secretary by a State for approval under subchapter I, X, XIV, XVI,

  or XIX . . . conform[] to the requirements for approval under such subchapter” and

  general item disallowance. 42 U.S.C. § 1316(a)–(e). These matters are wholly

  collateral to the review of managed-care-plan contracts which are reviewed under

  42 C.F.R. § 438.3(a). Additionally, Plaintiffs’ claims concerning 42 C.F.R. §

  438.3(d)(4) ultimately present legal APA and constitutional issues that are outside

  of HHS and CMS’s expertise. It is unclear how Plaintiffs could seek such

  administrative review without “betting the farm” through immediate and wholesale

  defiance of the Final Rule—something courts “normally do not require plaintiffs” to

  do and something courts “do not consider” to be “a meaningful avenue of relief.”

  Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 490–91 (2010).

        In sum, Congress’ intent to allocate initial review of Plaintiffs’ claims to HHS

  or CMS is not “fairly discernable in [42 U.S.C. § 1316 or 42 U.S.C. §

  18116(a)].” Thunder Basin, 510 U.S. at 207. The Court has subject matter

  jurisdiction over Plaintiffs’ claims.

        II.    Injunctive Factors

               a. Likelihood of Success on the Merits

                                           19
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 20 of 50 PageID 1238




         HHS and the Final Rule interpret Title IX, and hence section 1557, to prohibit

  discrimination based on “gender identity.” 89 Fed. Reg. at 37,699 (45 C.F.R.

  § 92.101(a)(2)). The Final Rule is stillborn and a nullity if Title IX does not prohibit

  discrimination on the basis of “gender identity.” The Eleventh Circuit has spoken on

  this point, clearly: Title IX does not address discrimination on the basis of gender

  identity. Adams v. Sch. Bd. of St. John’s Cnty., 57 F. 4th 791, 812–15 (11th Cir.

  2022) (en banc). Frankly, this ends the issue—the new Rule appears to be a dead

  letter in the Eleventh Circuit.

         The plaintiff in Adams, like HHS here, contended that the Title VII

  employment case of Bostock v. Clayton County, 590 U.S. 644, 659–60 (2020),

  means that Title IX barred discrimination on gender identity grounds.6 The Eleventh

  Circuit held otherwise. In Title IX, and hence in section 1557, “because of sex”

  unambiguously means “biological sex” (male and female), and not “gender

  identity.” Adams, 57 F.4th at 812–13. And although Bostock, too, proceeded on the

  assumption that “sex” means biological sex, Adams said that “the statutory context

  of Title IX” requires a different result. Id. at 813. As the Adams Court noted, Title

  IX includes many sex-specific exceptions and instructs that the prohibition must be



  6
   Bostock held that an employer discriminates “because of sex” under Title VII of the Civil Rights
  Act of 1964 when he fires a male for no reason other than identifying as a woman, but “retains an
  otherwise identical employee” who is a female, because in that case, the individual’s sex is a but-
  for-cause of the disparate treatment. 590 U.S. at 659.

                                                  20
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 21 of 50 PageID 1239




  read to permit separating living facilities based on sex, which is inconsistent with

  protecting “gender identity.” Id. at 814–15 & n.7; see 20 U.S.C. § 1686. If Title IX

  were read to protect “gender identity,” the Court reasoned, Title IX’s carve-outs

  “would be rendered meaningless” whenever they came “into conflict with a

  transgender person’s gender identity.” Adams, 57 F.4th at 813–14. This “would

  provide more protection against discrimination on the basis of transgender status

  under the statute . . . than it would against discrimination on the basis of sex.” Id. at

  814. “That conclusion cannot comport” with the text and context of Title IX. Id.

        A further reasoning of the Eleventh Circuit was that Title IX, unlike Title VII,

  was enacted under the “Spending Clause.” Adams, 57 F.4th at 815. “A safeguard of

  our federalist system is the demand that Congress provide the States with a clear

  statement when imposing a condition on federal funding.” Id. That “clear-statement”

  rule required rejecting the plaintiff’s argument, because Title IX does not clearly

  protect gender identity. The text of Title IX says nothing about gender identity.

        Notably, the federal Government’s argument here about Title IX, including

  its argument about the spending clause, is precisely the argument it made, and flatly

  lost, in Adams. Amicus Brief of United States, Dkt. 254, No. 18-1359, Adams,

  ecf.call.uscourts.gov/n/bean/serulet/TansportRoam, last consulted June 30, 2024.

  Repeating the same failed argument from Adams will likely render the same result.

        In discussing its definition of “sex” under Title IX to include gender identity,

                                             21
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 22 of 50 PageID 1240




  HHS cites the reversed District Court opinion in Adams. Id. at 37573 n.110. And

  when incorporating Bostock into Title IX, HHS cites the controlling en banc Adams

  decision but notes it is contrary, using the signal “But cf.” Id. at 37574 n.116.

        In the Final Rule, HHS recognizes that “Section 1557 is best read to

  incorporate existing interpretations of what constitutes sex discrimination under

  Title IX, including regulatory interpretations and case law.” 89 Fed. Reg. at 37,638

  (emphasis added). In the Eleventh Circuit, that case law includes Adams.

        HHS argues the Court should limit Adams to its facts (“transgender restroom

  issues”) and apply Bostock’s reasoning to uphold the Final Rule. But Adams rejected

  applying Bostock.

        Respect for Executive Branch interpretation of a statute was previously

  “especially warranted when an Executive Branch interpretation was issued roughly

  contemporaneously with enactment of the statute and remained consistent over

  time.” Loper Bright Enters. v. Raimondo, 603 U.S. — , No. 22-1219, 2024 WL

  3208360, at *9 (June 28, 2024). In contrast the Executive Branch interpretation of

  Title IX now conjured comes decades after the enactment of Title IX and, as seen

  below, the interpretation has changed repeatedly over time.

        As Loper states, the whole point of having a written statute is “every statute’s

  meaning is fixed at the time of enactment.” Id. at *16. Adams recognizes this. Title

  IX, decades old, did not change meaning in 2024. HHS’s attempt to alter

                                            22
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 23 of 50 PageID 1241




  prospectively the meaning of Title IX shows the wisdom of Loper’s statement that

  “agencies have no special competence in resolving statutory ambiguities. Courts

  do.” Id. at *16. The Administrative Procedures Act, § 706, which is the present

  guidepost, “demand[s] that courts exercise independent judgment in construing

  statutes administered by agencies.” Id. at *19; 5 U.S.C. § 706.

        Eknes-Tucker v. Governor of Ala., 80 F.4th 1205 (11th Cir. 2023), also

  suggests that Plaintiffs will likely prevail on the merits. Eknes-Tucker involved a

  challenge to an Alabama law prohibiting gender-transition interventions in minors,

  particularly puberty blockers and cross-sex hormones. Id. at 1210, 1227. Interpreting

  the Equal Protection Clause, the Eleventh Circuit held that “the statute does not

  discriminate based on sex.” Id.

        The Alabama law prohibited drugs used for a specific medical purpose of

  treating gender dysphoria. Id. The purpose of the treatment was to end the gender

  dysphoria by facilitating likely gender transition or at least enabling it. Any reference

  to sex or difference in treatment was due to the medical purpose of the drugs coupled

  with biological facts about the sexes, not stereotypes. Id. at 1229. Only females may

  take supraphysiologic levels of testosterone for a gender transition, and only males

  can take supraphysiologic levels of estrogen for a gender transition. Id. at 1213,

  1228. The Court said prohibiting these treatments is not discriminating on the basis

  of sex under Equal Protection scrutiny. “[T]he regulation of a course of treatment

                                             23
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 24 of 50 PageID 1242




  that only gender nonconforming individuals can undergo” was not stereotyping

  “based on sex” “unless the regulation [is] a pretext for invidious discrimination

  against such individuals.” Id. at 1228–30.

         Like Adams, the Eknes-Tucker Court distinguished Bostock.7 The Court

  emphasized the “different factual context” involved in Eknes-Tucker and Bostock—

  Eknes-Tucker involved a law regulating medical treatments, not a rule penalizing a

  transgender individual in employment for no reason other than being transgender.

  Id. at 1229. So too, here.

         Eknes-Tucker held that a ban on gender-transition interventions does not

  intentionally discriminate “on the basis of sex.” The same phrase is used in Title IX

  and imported into section 1557, increasing the likelihood that Plaintiff will prevail

  on the merits.

         Section 206(b)(4) of the Rule makes it presumptively discriminatory for

  covered entities to “[d]eny or limit” puberty blockers, cross-sex hormones, or

  surgeries “sought for purpose of gender transition,” so long as those entities provide

  the services for “other purposes.” 89 Fed. Reg. at 37,701 (45 C.F.R. § 92.206(b)(4)).



  7
    The Eleventh Circuit’s recent decision in Lange v. Houston County does not govern here. 101
  F.4th 793 (11th Cir. 2024). In that case, the Eleventh Circuit held that an employer violates Title
  VII when it denies health-insurance coverage for all gender transitions. But Lange (like Bostock)
  interprets Title VII, which is not a Spending Clause statute like section 1557. Fitzpatrick v. Bitzer,
  427 U.S. 445, 458 (1976) (Brennan, J., concurring). So unlike section 1557, Title VII need not
  satisfy the requirement of clear and unambiguous notice. Adams, 57 F.4th at 815. Adams and
  Eknes-Tucker distinguished Title VII.
                                                   24
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 25 of 50 PageID 1243




  But this is insufficient to establish a prima face discrimination claim, as a patient

  seeking “gender transition” is not similarly situated to a patient seeking a drug or

  procedure to treat a different medical condition or diagnosis. See Eknes-Tucker, 80

  F.4th at 1228; id. at 1233 (Brasher, J., concurring) (same); L.W. v. Skrmetti, 83 F.4th

  460, 481–82 (6th Cir. 2023) (same in equal protection case).

        To use Bostock’s language, HHS provides no reason to presume that a woman

  seeking a hysterectomy to treat cancer is “to [the doctor’s mind], materially identical

  in all respects” to a woman seeking a hysterectomy for a gender transition. Bostock,

  590 U.S. at 660. The diagnosis relevant to gender transition treatment—gender

  dysphoria—has a very different etiology and balance of risks. See Eknes-Tucker, 80

  F.4th at 1233 (Brasher, J., concurring). Because the medical purpose is different, not

  similar, let alone “materially identical,” intentional sex discrimination cannot be

  presumed. Eknes-Tucker, 80 F.4th at 1228; Bostock, 590 U.S. at 660.

        One can envision many other factual scenarios showing that the Rule likely

  reaches well beyond “discrimination.” For example, it is not actionable

  discrimination for a local hospital to provide an orchiectomy to a teenage boy with

  testicular cancer, yet refuse to even consider castrating a teenage gender dysphoric

  with healthy testicles. The diagnoses and medical purposes are not similarly situated.

        Sections 207(b)(4) and (b)(5) prohibit a reimbursement policy or practice

  limiting gender-transition reimbursements if the policy or practice is “categorical”

                                            25
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 26 of 50 PageID 1244




  or “results in sex discrimination.” 89 Fed. Reg. at 37,701 (45 C.F.R. §§ 92.207(b)(4),

  (5)). HHS justifies this based on an argument that limiting coverage for a gender

  transition is a proxy for discriminating on the basis of gender nonconformity

  “because transgender individuals are the only individuals who seek transition-related

  care.” Notice of Proposed Rule Making, 87 Fed. Reg. at 47,871. But Eknes-Tucker

  rejected that same argument: “the regulation of a course of treatment that only gender

  nonconforming individuals can undergo” is not discriminating “based on sex” (the

  same words used in Title IX) “unless the regulation [is] a pretext for invidious

  discrimination against such individuals.” Eknes-Tucker, 80 F.4th at 1228–30. So

  Eknes-Tucker conflicts with these rules.

        The Eleventh Circuit has concluded that limiting gender-transition treatments

  for minors such as pharmaceuticals or hormones is “rational.” Eknes-Tucker, 80

  F.4th at 1225. Surgery, which HHS addresses but Eknes-Tucker did not, would be

  all the more medically intrusive and “rational” to restrict.

        Both Eknes-Tucker and the Final Rule forbid “pretext,” but the Final Rule

  prohibits far more than “pretext,” and its framework is the opposite of Eknes-

  Tucker’s. Eknes-Tucker requires a plaintiff to show “pretext” to establish that a state

  discriminated on the basis of sex. By contrast, under the Final Rule, a covered entity

  that bars coverage for gender-transition treatments would be presumed to

  discriminate based on sex, without any showing of pretext. Under the Final Rule, a

                                             26
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 27 of 50 PageID 1245




  hospital’s categorical denial of care (“no castration, hysterectomies, or mastectomies

  for gender transition”) would be in violation of the Rule if the hospital provided

  those services for other reasons, like cancer.

         The CMS contracts Rule would amend the standard contract requirements

  under Medicaid and CHIP to require prohibiting any policy or practice that has the

  “effect of discriminating” based on an individual’s “gender identity.” 89 Fed. Reg.

  at 37,691 (42 C.F.R. §§ 438.3(d)(4) (emphasis added), 457.1201(d)). But as

  explained above, section 1557 likely does not prohibit discriminating based on

  gender identity, and likely does not forbid the discriminatory effects that HHS

  defines. For additional statutory authority, HHS invokes the Social Security Act,

  which was also enacted under the Spending Clause and therefore likewise requires

  a “clear” statement of Congress. See 89 Fed. Reg. at 37,668.8 But there is no clear

  statement. The Spending Clause failure was one of the salient points of the Adams

  opinion. 57 F.4th at 815.

         In this regard, HHS defends the CMS contracts Rule by invoking its authority

  to adopt “methods of administration” for Medicaid that are “necessary for the proper


  8
    HHS raises an affirmative defense. It argues that the claim is untimely under the Little Tucker
  Act’s statute of limitations. 28 U.S.C. § 2401(a). This is meritless. The six-year statute of
  limitations “begins to run when the agency issues the final action that gives rise to the claim.”
  Alabama v. PCI Gaming Auth., 801 F.3d 1278, 1292 (11th Cir. 2015). To the extent earlier rules
  are implicated, HHS reopened them by vastly expanding them to gender identity medical services
  and contracting. See Kennecott Utah Copper Corp. v. U.S. Dep’t of Interior, 88 F.3d 1191, 1227
  (D.C. Cir. 1996). These claims accrued upon issuance of the Final Rule. See Corner Post, Inc. v.
  Bd. of Governors of the Fed. Rsrv. Sys., 2024 WL 3237691, at *7 (July 1, 2024).
                                                 27
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 28 of 50 PageID 1246




  and efficient operation of the [state Medicaid] plan.” 42 U.S.C. § 1396a(a)(4). But

  imposing these vast duties and canceling Florida law is far afield from “methods of

  administration.”

        Congress offered examples of “methods of administration,” giving “more

  precise content” to the term. United States v. Williams, 553 U.S. 285, 294 (2008). It

  includes setting “personnel standards,” providing for “medical personnel in the

  administration … of the plan,” and transporting “beneficiaries … to and from

  providers.” 42 U.S.C. § 1396a(a)(4). That list of routine administrative tasks looks

  nothing like the power to declare new civil rights guarantees for groups of people.

  When the SSA was enacted, States had no “clear notice” from the face of the statute

  that HHS could force them to adopt very costly contracts expanding treatments due

  to alleged disparate impacts on transgender individuals. Adams, 57 F.4th at 815. The

  contract requirement “is markedly different from” other contract requirements HHS

  has imposed. Ala. Ass’n of Realtors, 594 U.S. 758, 764 (2021); see generally 42

  C.F.R. § 438.3. The CMS contracts Rule, like the Title IX Rule, simply rewrites the

  statute. That is Congress’ job alone. For the foregoing reasons, Plaintiffs have

  established a likelihood of success on the merits.

               b.     Florida Faces Irreparable Harm

        For many of the same reasons they establish standing and hardship, Plaintiffs

  also show they will suffer “irreparable harm” absent a stay. West Virginia, 59 F.4th

                                           28
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 29 of 50 PageID 1247




  at 1149.

         If the Rule is implemented, on July 5, 2024, Florida will face irreparable harm.

  Florida’s covered entities will have to file an assurance of compliance to avoid

  termination of funds. They must amend their policies and begin trainings on the new

  rules. 45 C.F.R. §§ 92.5, 99.8, 99.9.

         The Plaintiff agencies and the healthcare providers they regulate must either

  clearly violate Florida law, or clearly violate the new Rule. To comply with the Rule,

  DMS would have to alter its policy against reimbursing managed care plan members

  for sex-change treatments. This is not possible because DMS cannot amend its self-

  funded insurance plan without permission from the Florida legislature, which is not

  is session and which has previously barred payment of tax dollars for gender

  transition treatment. DMS will clearly suffer irreparable harm if the Rule is not

  stayed.

         Other Plaintiffs would be in a similar bind. Under current law AHCA cannot

  use state funds for these gender change services in state Medicaid. Fla. Admin. Code

  r. 59G-1.050(7). HHS lawyers have previously said this present Florida AHCA law

  violates the Rule.9 Even if AHCA could violate state law by expanding coverage for




  9
   Brief for the United States as Amicus Curiae at 26 n.10, Dekker v. Fla. Agency for Health Care
  Admin., No. 23-12155 (11th Cir. Dec. 4, 2023), https://perma.cc/9UYG-SVPL.
                                                29
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 30 of 50 PageID 1248




  these services it cannot print money. And the Rule provides nothing for the vast

  added, unallotted expense.

        The federal government generally enjoys immunity from suit. West Virginia,

  59 F.4th at 1149. So these costs can never be recovered. See, e.g., Odebrecht Const.,

  Inc. v. Sec., Fla. Dep’t of Transp., 715 F.3d 1268, 1289 (11th Cir. 2013).

  Unrecovered monetary loss is irreparable harm. Georgia v. President of the United

  States, 46 F.4th 1283, 1302 (11th Cir. 2022).

        Florida’s Agency for Persons with Disabilities (“APD”) also faces irreparable

  harm. Dkt. 12-2. APD has a policy of assigning dual-occupancy rooms in its

  residential living facilities on the basis of biological sex, regardless of an

  individual’s gender identity. Presently, natal women have natal women roommates

  and natal males room with natal males. This makes sense given the residents APD

  serves. See id. But this would change.

        The Rule would prohibit APD’s room sharing policy if a biological male

  patient identified as a female, and refusing to lodge the natal male on the women’s

  wing or with a female roommate would cause the natal male “more than de minimis

  harm.” See § 206(b)(3) of Part 92; Dkt. 12, Ex. B; see also 89 Fed. Reg. at 37,593

  (“A covered entity will be in violation of this rule if they refuse to admit a

  transgender person for care or refuse to place them in facilities consistent with their

  gender identity, because doing so would result in more than de minimis harm.”

                                            30
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 31 of 50 PageID 1249




  (emphasis added)). HHS earlier explained its view that “a hospital that assigns

  patients to dual-occupancy rooms based on sex would be prohibited from requiring

  a transgender woman [meaning a natal male expressing the female gender] to share

  a room with a cisgender man [meaning a natal male who expresses a male

  gender], regardless of how her sex is recorded in her insurance or medical records.”

  NPRM, 87 Fed. Reg. at 47,866–67. HHS reiterated in its brief that “refusing to place

  a transgender person ‘in facilities consistent with their gender identity’ would result

  in more than de minimis harm.” Dkt. 33 at 17 n.9. Absent a stay, APD may likely

  violate Florida law. See Fla. Stat. § 553.865(5), (12). APD plausibly states it would

  have to redesign facilities and/or hire additional staff for safety, to accommodate the

  preferences of gender-divergent residents. Id. at 9.

        Florida also plausibly asserts injury in its sovereign capacity. The Final Rule

  injures Florida’s “interest in enforcing [its] duly enacted laws without contradiction

  from the federal government.” Tennessee, 2024 WL 2984295, at *10. Florida “will

  continue to face pressure to change their laws to avoid legal consequences.” Id. at

  *25; see also Florida v. Nelson, 576 F. Supp. 3d 1017, 1039 (M.D. Fla. 2021); Texas

  v. Becerra, 577 F. Supp. 3d 527, 557 (N.D. Tex. 2021) (“irreparable harm exists

  when a federal regulation prevents a state from enforcing its duly enacted laws”).

  Case law has recognized this type of injury as supporting a stay. West Virginia, 59

  F.4th at 1149.

                                            31
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 32 of 50 PageID 1250




        HHS argues that a pending class action before a different court negates the

  need for equitable relief. See Neese v. Becerra, 640 F. Supp. 3d 668 (N.D. Tex.

  2022). This case does not involve the Final Rule.

        First, Florida, AHCA, DMS, and APD are not class members in Neese.

  Moreover, Neese did not provide equitable relief against Defendants. 640 F. Supp.

  3d at 684–85. The judgment in Neese, now on appeal, does not stop HHS from

  enforcing the Final Rule against Plaintiffs.

        Finally, the Court would note Labrador v. Poe, 601 U.S. — , 144 S. Ct. 921

  (2024). Although arising in the context of a stay, the Supreme Court found that

  Idaho likely showed irreparable harm when a district judge struck down the state

  laws precluding puberty blockers and gender transition medical treatment for

  minors. Id., 144 S. Ct. at 923–24 (concurrence). Here, of course, the Final Rule

  would similarly require repeal of substantive Florida statutes. Labrador suggests

  Florida faces irreparable harm.

               c. The Balance of Harms and Public Interests Favor a Stay

        The balance of harms and public interest factors “merge when, as here, the

  government is the opposing party.” Gonzalez v. Governor of Georgia, 978 F.3d

  1266, 1271 (11th Cir. 2020) (cleaned up). As discussed above, Plaintiffs will suffer

  harm and face unrecoverable, large monetary loss, legal jeopardy, and sovereign

  injury absent a stay.

                                            32
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 33 of 50 PageID 1251




                      Public Interest Requires a Lawful Rule

        HHS and the public have an interest in HHS rules being legal. As noted, the

  Rule here appears to be contrary to the Eleventh Circuit’s clear Title IX teachings in

  Adams; and Eknes-Tucker also teaches against the Rule indirectly. In the Eleventh

  Circuit, the Rule appears unlawful. “[O]ur system does not permit agencies to act

  unlawfully even in pursuit of desirable ends.” Ala. Ass’n of Realtors v. HHS, 594

  U.S. 758, 766 (2021); see BST Holdings, LLC v. OSHA, 17 F.4th 604, 618 (5th Cir.

  2021) (“Any interest [the government] may claim in enforcing an unlawful [rule] is

  illegitimate.”). In other words, the Rule invokes and relies on a Title IX that the

  Eleventh Circuit states does not exist.

        Likewise, the reliance on the Social Security Act to impose costly new

  insurance/managed care contracts appears to be ultra vires to the Act. Neither is the

  Spending Clause requirement met, nor the stark changes permitted without a

  rewriting of that statute. The new Rules must be legal; and no deference on matters

  of legality need be shown the agency. See Loper, 2024 WL 3208360, at *22.

                    HHS’s Rules Have Been Unstable, Ever-changing

        A second reason why the public interest is furthered by a stay and injunction

  is that the Rule is ever-changing and unstable, buffeted by the prevailing political

  winds. The new Rule is the fourth version in the last eight years, which each version

  the opposite of the other. The repeated reversing of field by HHS presents large

                                            33
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 34 of 50 PageID 1252




  compliance issues and costs for health care facilities and the states that regulate

  them; not to mention the stop-and-start effect on this sensitive area of health policy.

  This instability suggests that the public interest favors a preliminary pause to fully

  address on the merits this new, fourth version. And the instability shows little harm

  to HHS in keeping a steady hand rather than lurching change.

        The stop/start timeline is illustrated in the case law. See Religious Sisters of

  Mercy v. Becerra, 55 F.4th 583, 589-591 (8th Cir. 2022). The first change was in

  2016. Prior to 2016 the HHS rules did not require treatment and consideration of

  gender identity as part of healthcare nondiscrimination rules. This changed with a

  2016 rule, id., that stated “discrimination on the basis of sex includes discrimination

  on the basis of gender identity and sex stereotyping.” Id. at 31,388; 31,467. The new

  rule barred providers from denying “transition-related care” based on explicit or

  categorical exclusions of services for purpose of gender transition. Id. at 31,439;

  31,471. See Religious Sisters, 55 F.4th at 590.

        After this change, though, HHS did another “180” and changed back again.

  Id. at 594; 85 Fed. Reg. 37,160 (June 19, 2020). In June 2020, HHS flatly repealed

  the 2016 rule, noting that it “repeal[ed] the 2016 Rule’s definition of ‘on the basis of

  sex’…” Instead, the 2020 HHS rule reverted to and relied upon the plain meaning of

  the term in Title IX. Id. at 37,178; Religious Sisters, 55 F.4th at 594. This change

  was the third rule within four years.

                                            34
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 35 of 50 PageID 1253




        Now we have under review the fourth rule, as HHS has done one more about-

  face. Shortly after the Supreme Court issued its opinion in Bostock, President Biden

  issued an Executive Order stating that Bostock's reasoning meant that laws that

  prohibit sex discrimination, including Title IX, “prohibit discrimination on the basis

  of gender identity or sexual orientation,” unless the laws contain sufficient

  indications to the contrary. Executive Order No. 13988, 86 FR 7023, 2021 WL

  229396 (Jan. 20, 2021). The President thus ordered the head of each agency to

  rescind agency actions that were inconsistent with this definition he offered. Further,

  agencies were to promulgate new agency actions consistent with other laws

  including the APA, “as necessary to fully implement statutes that prohibit sex

  discrimination” as he defined it in the Order. Id. This fourth rule is the result: another

  180-degree turn.

        One need not be a cynic to predict that, if perchance there is a change in

  presidential administrations, we will have another sudden about-face by HHS and a

  fifth rule. This instability and repeated divergence is costly in many areas. It is

  entirely based upon national politics, and might support an argument that this

  sensitive issue of health and safety ought be left steady, or deferred to state medical

  regulators to decide in their public welfare role. In any event, this unstable regulatory

  regime does suggest there is little harm to a delay, and the public interest is here




                                             35
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 36 of 50 PageID 1254




  served by a full decision on the factual merits and a preliminary stay, not to mention

  full development of real, hard science that was heretofore sparse in the field.

           The Rule Requires Significant Alteration of Healthcare in Florida

        The public has an interest in stable, orderly change in important public matters

  such as health care. The Final Rule would require covered entities to allow biological

  males who are transgender into female private spaces, including bathrooms,

  changing rooms, living facilities, dual-occupancy bedrooms, etc., if the natal males

  would otherwise suffer harm “more than de minimis.” Unlike other more cautiously-

  worded provisions of HHS comments, HHS starkly stated, “[A] provider generally

  may accommodate a patient’s preferences about roommate assignments. A covered

  entity will be in violation of this rule [Sec. 92.206] if they refuse to admit a

  transgender person for care or refuse to place them in facilities consistent with their

  gender identity because doing so would result in more than de minimis harm.” 89

  Fed. Reg. at 37,593. The Final Rule, moreover, allows no exceptions to this rule

  based on public safety or any similar rationales. That is not in the public interest,

  despite some minor harm that may be occasioned to gender-divergent patients by

  this injunction.

        The Rule’s commentary expressly declines to fully define the terms of

  “gender affirming care” or “gender identity” (other than to say it includes

  “transgender status”) although the Rules are greatly about those subjects. 89 Fed.
                                            36
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 37 of 50 PageID 1255




  Reg. 37,392; 37,596. HHS does say “gender affirming care generally refer[s] to a

  care designed to treat gender dysphoria that may include, but is not necessarily

  limited to, counseling, hormone therapy, surgery, and other related sources.” 89 Fed.

  Reg. 37,596.

        Section 92.206 of the Rule clearly mandates availability of gender transition

  services if similar services (hormone therapy, mastectomies, hysterectomies, etc.)

  are available to patients for reasons other than gender transitions. This is because

  “[w]hen medically necessary treatments are categorically excluded when sought by

  transgender enrollees for purposes of gender-affirming care, but the same treatments

  are covered for cisgender enrollees, such exclusions may deny transgender

  individuals access to coverage based on their sex.” Id. at 37,671.

        The Rule also seeks to make providers speak correctly about the subject to

  HHS’s satisfaction, in addition to verbal assurance of compliance. The HHS

  commentary notes that in assessing a provider’s good faith to avoid compliance

  sanctions the HHS will consider “whether that covered entity demonstrated a

  willingness to refer or provide accurate information about gender-affirming care, or

  is otherwise engaging in good faith efforts to ensure patients are receiving medically

  necessary care.” Id. at 37,598. HHS commented that the Rule clarifies “that while

  providers may exercise clinical judgment when determining if a particular service is

  appropriate for an individual patient, they may not refuse gender-affirming care
                                           37
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 38 of 50 PageID 1256




  based on a belief that such care is never clinically appropriate.” Id. at 37,597. This

  is contrary to the public interest, if public interest may be defined as the laws of

  Florida passed by the citizens’ elected representatives.

    Public Interest Supports Merits-Based Consideration of HHS’s “Care” Regimen

        HHS’s brief, notably, does not argue that encouraging gender-transition

  treatments serves the public interest. This is a litigation strategy as both the Rule and

  HHS’s clear public stance are entirely to the contrary. Given the uncertain benefit,

  the evidence of public health harms, and HHS’s failure to defend the public health

  benefit of gender-transition treatments in its brief, the Court concludes that

  encouraging widespread access of “gender affirming care” is an issue that the public

  interest requires to be developed thoroughly on the merits. And such an examination

  brings no harm to HHS.

        The Final Rule compels the State to make gender-transition services available

  in the Medicaid managed care plans, and compels all covered entities to not preclude

  gender-transition treatments when such services (like mastectomies for cancer,

  testosterone for hypogonadism, etc.) are provided for other medical reasons.

  Covered entities may not categorially refuse to perform gender transition. No

  hospital in Florida could have a categorical exclusion for gender-transition surgeries

  even for minors, if similar procedures were done for non-gender purposes.


                                             38
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 39 of 50 PageID 1257




         If a hospital’s outreach program sponsored a women-only support or

  counseling group, that group would have to admit a natal male who identified as

  female, if refusing to admit the natal male would cause that person more than de

  minimis harm. And no contractor such as the Florida Medicaid multi-billion-dollar

  managed care plans could omit a full panoply of gender transition coverage (surgery,

  hormone formulary, etc.) if those services were provided for non-transition

  maladies. This presents a very expensive regimen paid for by the taxpayers but

  unfunded by the Rule.

         An honest appraisal of the Rule shows it imposes the availability of gender

  transition medicine upon all covered entities, wanted or unwanted. The public

  interest requires a merits-based analysis of this.

         Although the task here is to undertake a “facial review” of the new Rules,

  some issues of “public interest and balanced harms” requires the further discussion.

  HHS’s basis for a “gender affirming care” regimen appear to be long on ipse dixit10

  and short on real, hard science. See generally HHS Office of Population Affairs,

  Gender-Affirming Care and Young People, opa.hhs.gov/site/default/files/2022-

  03/gender-affirming-care-young-people-March-2022, last consulted June 29, 2024.

  In this March 2022 HHS “fact sheet” the HHS advocated the panoply of “gender


  10
    Ipse dixit. L. He himself said it; a bare assertion resting on the authority of an individual. Black’s
  Law Dictionary (5th ed. 1979).
                                                    39
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 40 of 50 PageID 1258




  affirming care” including counseling, pharmaceuticals, and stating that surgeries are

  “typically used in adult or case-by-case in adolescence.” This “fact sheet” was

  immediately followed up by the Department of Justice Assistant Attorney General

  Kristin Clarke’s letter of March 31, 2022, sent to State’s Attorneys General, which

  fairly reads as a veiled threat to bring federal enforcement actions and litigation in

  pursuit of this trans-care agenda.11

        At times the HHS position about “gender affirming care” seems to be political.

  It is no surprise to any observer that politics on both sides of this issue are prevalent.

  Concerning the parties here, HHS’s Assistant Secretary Levine previously urged the

  medical/advocacy group World Professional Association for Transgender Health

  (“WPATH”) to drop proposed age limits for minor transgender surgery. The age

  limits in the proposed WPATH guidelines were 15 for mastectomies, 16 for breast

  augmentation or facial surgeries, and 17 for hysterectomies. Levine’s staff informed

  WPATH that Levine was “confident, based on the rhetoric she is hearing in D.C.,

  and from what we have already seen, that these specific lists of ages, under 18, will

  result in devastating legislation for trans care. [Levine] wonder[s] if the specific ages

  can be taken out.” Levine’s staff went on to tell WPATH that Levine “was very

  concerned that having ages (mainly for surgery) will affect access to care for trans



  11
    The letter may be found at ECF No. 193-3, Dekker v. Weida, No. 4:22-cv-325-RH-MAF (N.D.
  Fla. 2023).
                                             40
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 41 of 50 PageID 1259




  youth and maybe adults, too…” Levine’s staff asked WPATH to remove the age

  limitations in the guidance for gender transition.12 The WPATH has removed age

  limitations for minors on its guidance for transition surgeries.

         It is in the public interest to address these issues with the benefit of a full

  record, substantively on the merits. The record now is sparse due to this “facial

  review”; further, the undersigned has no training in science or medicine. Despite

  this, several points are worth making.

         A notable point about the Rule is that while it imposes significant “gender

  affirming care” and “transition treatment” requirements upon Florida, the HHS

  discounts, and in the commentary declares as “not germane to the proposed

  regulatory text,” any uncertainty and lack of clarity concerning the safety and

  efficacy of the gender treatments HHS imposes. 89 Fed. Reg. 37672. HHS’s

  boldness here is noteworthy and one might say brash, given that “[t]here are no large-

  scale population studies of gender dysphoria.” American Psychiatric Association,

  Diagnostic and Statistical Manual of Mental Disorders (5th ed. 2022 Text Revision)


  12
    A. Ghorayshi, Biden Officials Pushed to Remove Agent Limits for Trans Surgery, Documents
  Show (N.Y. Times June 25, 2024), https://www.nytimes.com/2024/06/25/health/transgender-
  minors-surgeries.html. In response to this article the administration was reported to have stated
  that it opposed gender-affirming surgery for minors. Rabin, Rosenbluth, Weiland, Biden
  Administration Opposes Surgery for Transgender Minors, (N.Y. Times June 28, 20240,
  https://www.nytimes.com/2024/06/28/health/transgender-surgery-
  biden.html?pvid+kwDIVPqfjXyF_P9pkx7qMxSW&smid=url-share. This latter statement
  contrasts with the HHS “fact sheet” which states the “gender-affirming surgeries” are “typically
  used in adulthood or case-by-case- in adolescence. Gender Affirming Care, supra at 39-40,
  opa.hhs.gov.
                                                 41
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 42 of 50 PageID 1260




  (“DSM-5”) at 515. The Rule radically changes the law in Florida, as a matter of

  medicine and expense, concerning the treatment of gender dysphoria in minors. Yet

  the predominant psychiatric disorder “guidebook,” DSM-5, tells us that “[n]o

  general population studies exist of adolescent or adult outcomes of childhood gender

  variance.” Id. at 516.

        After counseling, the starting point for physical intervention in the “gender

  affirming care” regimen for minors is puberty blockers, often followed by cross-sex

  hormones, meaning supra-physical doses of testosterone for transitioning natal

  females, and estrogen for transitioning natal males. The Food and Drug

  Administration has never approved any of these drugs as “safe and effective” for

  these treatments. The reason why is that studies about these pharmaceuticals in this

  application lack full, hard scientific rigor. The entire gender-transition drug regimen,

  is “off label.” Off label drug use generally is not illegal and not infrequent, but before

  an entire formulary and medical practice in Florida is involuntarily devoted to off-

  label drugs, perhaps a pause to study these merits is in order.

        When the FDA regulates a drug “on-label,” that assurance means the FDA has

  conducted or supervised sufficient testing to determine that the drug is safe for its

  intended use. See Food & Drug Admin. v. Brown & Williamson Tobacco Corp. 529

  U.S. 120, 142 (2000). This has not occurred with puberty blockers or cross-sex

  hormones used for gender dysphoria or transition. The FDA in 2022 required a

                                             42
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 43 of 50 PageID 1261




  warning label on one GnRH agonist used as an off-label transition puberty blocker;

  this drug may cause or correlate to the brain disorder pseudotumor cerebri

  (idiopathic intercranial hypertension) in minor females. The Food and Drug

  Administration, Risk of Pseudotumor Cerebri Added to Labeling for Gonadotropin-

  Releasing                   Hormone                 Agonists                (2022),

  https://publications.aap.org/aapnews/news/20636/Risk-of-pseudotumor-cerebri-

  added-to-labeling-for?autologincheck=redirected (last consulted Jul. 1, 2024).

           Off-label use of drugs bypasses the consumer safety and efficacy purpose of

  the FDA approval process and is nearly impossible to track. New or novel off label

  use, such as would be imposed by the Rule, is unlikely to be supported by strong,

  hard scientific evidence, because such use has not undergone extensive clinical

  phase trials that would ordinarily be required for such use. See generally Gail A.

  Van Norman, Off-Label Use vs Off-Label Marketing of Drugs: Part 1: Off-Label

  Use—Patient Harms and Prescriber Responsibilities, 8 J. Am. Coll. Cardiol Basic

  Trans.            Science         224–233           (Feb.         8,         2023),

  https://www.jacc.org/doi/full/10.1016/j.jacbts.2022.12.011 (last visited Jul. 1,

  2024).

           HHS’s present view on “gender affirming care” is far from shared by other

  medical authorities. And the science seems to be trending the other way. See also




                                            43
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 44 of 50 PageID 1262




  Labrador v. Poe, supra (reinstating most of the Idaho law barring transition

  medicine for minors).

        If the British National Health Service (“NHS”) were subject to the HHS Rule,

  the NHS would be in violation, as the NHS has stopped new, non-experimental

  prescriptions for puberty blockers for minor gender transition throughout the U.K.,

  and indefinitely in England. Department of Health and Social Care, New Restrictions

  on   Puberty     Blockers    (2024),   https://www.gov.uk/government/news/new-

  restrictions-on-puberty-blockers?ref=world-weary.com (last consulted Jun. 29,

  2024). This bar comes on the heels of a peer-reviewed survey entitled the “Cass

  Report,” which reported on the scarce evidence showing puberty suppression was

  safe and effective for gender transition and further considering the scarce evidence

  and questionable safety and efficacy of cross-sex hormone treatment. Hilary Cass,

  Independent Review of Gender Identity Services for Children and Young People

  (2024),   https://cass.independent-review.uk/home/publications/final-report/   (last

  consulted Jun. 29, 2024). Other authorities expressing doubts about the efficacy of




                                          44
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 45 of 50 PageID 1263




  such treatments include Sweden,13 Finland,14 France,15 and Australia/New

  Zealand.16

         The reason for these concerns appears that, despite statements to the contrary,

  the science behind these programs is reasonably disputed, and does not appear to be

  yet proven to anywhere near a medical certainty. One example is a recent survey that

  the undersigned asked all counsel to comment upon: Jonas F. Ludvigsson et al., A

  Systematic Review of Hormone Treatment for Children with Gender Dysphoria and



  13
     Sweden’s National Board of Health and Welfare determined that “the risks of puberty blockers
  and gender-affirming treatment are likely to outweigh the expected benefits of these treatments,”
  and determined that “[t]reatment with GnRH analogues, gender-affirming hormones, and
  mastectomy can be administered” only “in exceptional cases.” Exhibit DX8 at 3, Dekker v. Weida,
  No. 4:22-cv-325-RH-MAF (N.D. Fla. 2023) (ECF No. 193-8); National Board of Health and
  Welfare, Care of Children and Adolescents with Gender Dysphoria, Summary of National
  Guidelines December 2022 (2022), https://www.socialstyrelsen.se/globalassets/sharepoint-
  dokument/artikelkatalog/kunskapsstod/2023-1-8330.pdf (last visited June 26, 2022).
  14
     Finland’s Council for Choices in Healthcare urged extreme caution when providing gender
  transitioning services to children. It says that “[t]he reliability of the existing studies with no
  control groups is highly uncertain, and because of this uncertainty, no decisions should be made
  that can permanently alter a still-maturing minor’s mental and physical development.” Exhibit
  DX9 at 7, Dekker v. Weida, No. 4:22-cv-325-RH-MAF (N.D. Fla. 2023) (ECF No. 193-9); Council
  for Choices in Healthcare in Finland, Medical Treatment Methods for Dysphoria Related to
  Gender                  Variance                  in                 Minors                 (2020),
  https://segm.org/sites/default/files/Finnish_Guidelines_2020_Minors_Unofficial%20Translation.
  pdf (last visited June 26, 2022).
  15
     [The French National Academy of Medicine] concludes that “great medical caution” must be
  taken “given the vulnerability, particularly psychological, of this population [of younger people
  presenting with gender dysphoria] and the many undesirable effects, and even serious
  complications, that some of the available therapies can cause.” Exhibit DX13 at 1, Dekker v.
  Weida, No. 4:22-cv-325-RH-MAF (N.D. Fla. 2023) (ECF No. 193-13); French National Academy
  of Medicine, Medicine and Gender Transidentity in Children and Adolescents (2022),
  https://www.academie-medecine.fr/la-medecine-face-a-la-transidentite-de-genre-chez-les-
  enfants-et-les-adolescents/?lang=en (last visited June 26, 2022).
  16
     The Royal Australian and New Zealand College of Psychiatrists has said that there’s a “paucity
  of evidence” on the outcomes of those presenting with gender dysphoria. Exhibit DX14 at 1,
  Dekker v. Weida, No. 4:22-cv-325-RH-MAF (N.D. Fla. 2023) (ECF No. 193-14).
                                                  45
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 46 of 50 PageID 1264




  Recommendations          for     Research,       112     Acta      Paediatrica      (Apr.      17,

  2023), https://onlinelibrary.wiley.com/doi/10.1111/apa.16791 (last visited Jul. 1,

  2024) (“Ludvigsson”). See Dkt. 38. Defendants dispute the value of the study, but

  its findings are worthy of a merits-based inquiry and full record.

         Ludvigsson surveyed the major databases and identified nearly 10,000

  potentially germane studies. After screening, 24 were found to be timely (within the

  last decade) and appropriate for further analysis. Dkt. 38 at 3. Eight address the use

  of puberty blockers, three addressed the use of cross-sex hormones, and the

  remainder addressed both. The results17 appear to show how sparse the actual hard


  17
      Ludvigsson concluded there was insufficient evidence to assess the therapeutic effects of
  hormone treatments on children with gender dysphoria. Ludvigsson at 2280. Studies that examined
  mental health outcomes suggested an improvement in global function and self-reported quality of
  life for children receiving puberty blockers, but no change in suicidal ideation, depression, or
  anxiety. Id. at 2286 & tbl. 2. Notably, the studies showed no change in children’s experience of
  gender dysphoria following hormone treatment. Id. Other studies showed, albeit with low
  certainty, that puberty blockers slow bone densification in growing children, with mixed data on
  whether later CHST accelerates densification sufficiently to fully compensate. Id. at 2286–88 &
  tbl. 3. Ludvigsson emphasized that study weaknesses limit the conclusions that can reliably be
  drawn. None of the twenty-four studies were randomized controlled trials, the gold-standard in
  evidence-based clinical practice. Id. at 2287; see, e.g., NIH, Clinical Research: Benefits, Risks,
  and Safety, https://www.nia.nih.gov/health/clinical-trials-and-studies/clinical-research-benefits-
  risks-and-safety (“The gold standard for testing interventions in people is called a randomized
  controlled trial”); E. Hariton & J.J. Locascio, Randomized controlled trials—the gold standard for
  effectiveness research, 125 BJOG 1635 (Dec. 2018), https://doi.org/10.1111/1471-0528.15199.
  Data related to mental health outcomes was such poor quality that the certainty of the evidence
  could not be assessed. Id. at 2282, 2286 tbl.2. The studies’ short time frames (generally less than
  four years) and methodologies did not permit assessment of long-term outcomes or separation of
  psychological treatment effects. Id. at 2282, 2288. And analyses were performed at a group-level
  when assessing an individual over time would be more appropriate. Id. at 2288.
     Ludvigsson’s analysis is consistent with other independent, systematic reviews, which have
  similarly concluded that the evidence of benefit of medical gender transition in minors weak, while
  the evidence of harm is clear. See id. at 2290; Expert Report of Stephen B. Levine 51–52 (Feb. 23,
  2022),               HHS-OS-2022-0012-68192/attachment_12                    at            165–66,
                                                  46
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 47 of 50 PageID 1265




  evidence is that lies behind the “gender affirming care” regimen that HHS embraces

  and for which the Final Rule compels availability in Florida.

         One recent study (2024) of puberty suppression for gender dysphoria

  concluded:

         "In mammals, the neuropsychological impacts of puberty blockers are
         complex and often sex specific….There is no evidence that cognitive
         effects are fully reversible following discontinuation of treatment. No
         human studies have systematically explored the impact of these
         treatments on neuropsychological function with an adequate baseline
         and follow up. There is some evidence of a detrimental impact of
         pubertal suppression on IQ in children."18

  The public interest favors a merits-based inquiry to address these matters.

         III.    The Court denies the Catholic Medical Association’s Petition

         The Catholic Medical Association is a group of some 2500 health

  professionals across the nation practicing the healing arts. CMA petitioned here for

  an injunction, which is denied. Without need to opine on CMA’s representational

  standing, the Court simply believes that a nationwide injunction to cover all CMA

  members is improvident in this case for jurisprudential reasons. The CMA may




  https://www.regulations.gov/comment/HHS-OS-2022-0012-68192 at attachment 12 (last
  consulted Jul. 1, 2024). Even proponents acknowledge the health risks associated with gender
  transition in minors and the limited data addressing its safety and efficacy. These scientific
  assessments have led other countries to restrict, not expand, minors’ access to medical gender
  transition.
  18
     S. Baxendale, The Impact of Suppressing Puberty on Neuropsychological function: A Review,
  113 Acta Paediatrica, (Feb. 9, 2024), https://onlinelibrary.wiley.com/doi/full/10.1111/apa.17150
  (last visited Jul. 1, 2024).
                                                47
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 48 of 50 PageID 1266




  remain in the case for the merits determination, and its Florida members will

  certainly be covered by this injunction.

        First, the Court does not know who the CMA members are. Generally judges

  prefer to adjudicate disputes between the parties presenting before them. Although

  the Court has the power under Fed. R. Civ. P. 65 to enter such an injunction, how

  that rule intersects, if at all, with possible class action status under Rule 23 is now

  unclear. Also, a judge must not issue an injunction if he or she cannot enforce it. If,

  perchance, a CMA member in Oregon were told by her hospital administrator to

  follow the Final Rule in its entirety based upon Ninth Circuit precedent, enforcement

  of the undersigned’s injunction could be problematic.

        Much of this present injunction is based on the likely illegality of the Final

  Rule under the two specific Eleventh Circuit holdings discussed above.          Those

  rulings do not bind outside of the Eleventh Circuit.

        Several Supreme Court justices have recently criticized the modern spate of

  nationwide or universal injunctions from District Courts. See, e.g., Labrador v. Poe,

  144 S. Ct. at 921, 925. The Eleventh Circuit has counseled similarly. Georgia v.

  President, 46 F.4th at 1304. Those admonitions seem condign: A nationwide

  injunction issuing from a District Court ought to be the rare exception, not routine.




                                             48
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 49 of 50 PageID 1267




                               CONCLUSION

       Accordingly, it is hereby ORDERED and ADJUDGED:

       (1) Plaintiffs’ Motion for Stay and Preliminary Injunction (Dkt. 12) is

          GRANTED within Florida only.

       (2) Pending trial on the merits, the Final Rule entitled “Nondiscrimination in

          Health Programs and Activities,” Final Rule, 89 Fed. Reg. 37,522 (May 6,

          2024) is stayed in part, in Florida. The effective date of 45 C.F.R.

          §§92101(a)(2)(iv), 92.206(b), 92.207(b)(3)-(5), 42 C.F.R. § 438.3(d)(4) is

          postponed pending the disposition of the complaint on the merits. 5 U.S.C.

          § 705. For the duration of this Order, an assurance of compliance with Part

          92, see 45 C.F.R. § 92.5, shall not be construed to assure compliance with

          any provisions stayed by this Order.

       (3) Defendants are preliminarily enjoined from instituting or pursuing any

          enforcement proceedings under Section 1557, 42 U.S.C. § 18116(a), based

          on the interpretation of discrimination “on the basis of sex” to be codified

          at 45 C.F.R. § 92.101(a)(2)(iv), 92.206(b), or 92.207(b)(3)-(5).

       (4) This Order runs throughout the State of Florida, applying to all Plaintiffs,

          including the State of Florida, the Florida Agency for Health Care

          Administration, the Florida Department of Management Services, and

          their agents, agencies, contractors, and instrumentalities. Further, all

                                          49
Case 8:24-cv-01080-WFJ-TGW Document 41 Filed 07/03/24 Page 50 of 50 PageID 1268




          covered entities within Florida are covered by this stay and injunction.

       (5) The Court waives any bond requirement found at Fed. R. Civ. P. 65(e).

          City of Atlanta v. Metropolitan Atlanta Transp. Auth., 636 F.2d 1084, 1094

          (5th Cir. Unit B 1981).

       DONE AND ORDERED at Tampa, Florida, July 3, 2024.

                                       /s/ William F. Jung
                                       WILLIAM F. JUNG
                                       UNITED STATES DISTRICT JUDGE




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